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DEC 2 9 2016
IN THE UNITED sTATEs DISTRICT COURT

CLERK U.S. D\STR\CT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA WEST_ D|ST' OF pENNSYLVAN|A

UNITED STATES OF AMERICA

)

v. § Criminal No. \\_O '&q"/:}’
)
)

MARTIN ESQUIVEL-HERNANDEZ

INFORMATION MEMORANDUM
AND NOW comes the United States of America by Soo C. Song, Acting United States
Attorney for the Western District of Pennsylvania, and Paul E. Hull, Assistant U.S. Attomey for
said district, and submits this Inforrnation Memorandum to the Court:
I. THE INFORMATION
A one-count information has been filed against the above-named defendant for alleged

violations for federal lavv:

 

COUNT OFFENSE/DATE TITLE/SECTION
l. Illegal Possession of An »
Identification Document 18 U.S.C. § 1028(a)(4)

On or about December 5, 2011

II. ELEMENTS OF THE OFFENSE
A. As to Count 1:
In order for the crimes of Illegal Possession of an Identiflcation Document, in violation of
18 U.S.C. § l()28(a)(4), to be established, the government must provide all of the following
essential elements beyond a reasonable doubt:
l. The defendant knowingly possessed an identification document, authentication

feature, or a false identification document;

 

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2. The defendant did so with the intent to defraud the United States; and
3. The identification document was not issued lawfully for the use of the

defendant

18 U.S.C. § 1028 (a) (4).

III. PENALTIES

A. As to Count 1 - Illegal Possession of an Identification Document (18 U.S.C. §
l028(a)(4))

1. Not more than l year imprisonment (18 U.S.C. § 1028(a)(4)).
2. A fine ofnot more than $lO0,000 (18 U.S.C. § 3571(b)(5).
3. A term of supervised release of not more than one (1) year.
IV. MANDATORY SPECIAL ASSESSMENT
A mandatory special assessment of $25.()0 must be imposed at each count upon which the
defendant is convicted, pursuant to 18 U.S.C. § 3013.
V. RESTITUTION
Not applicable in this case.
VI. FORFEITURE
Not applicable in this case.
Respectfully submitted,

SOO C. SONG
* nited States Attomey

walter

PAUL E. HULL '
Assistant U.S. Attomey
PA ID NO. 35302

 

 

 

